Case 21-12240-amc   Doc 9-2 Filed 08/23/21 Entered 08/23/21 14:33:34   Desc
                         Service List Page 1 of 3
                  Case 21-12240-amc        Doc 9-2 Filed 08/23/21 Entered 08/23/21 14:33:34               Desc
Label Matrix for local noticing              Philadelphia
                                                 Service List Page 2 of 3       AFC Urgent Care
0313-2                                       900 Market Street                          265 Schuylkill Road
Case 21-12240-amc                            Suite 400                                  Phoenixville, PA 19460-1879
Eastern District of Pennsylvania             Philadelphia, PA 19107-4233
Philadelphia
Mon Aug 23 13:02:30 EDT 2021
AmeriCredit Financial Services, Inc. dba     (p)AMERICOLLECT INC                        Apex Asset Management LLC
P O Box 183853                               PO BOX 2080                                2501 Oregon Pike STE 102
Arlington, TX 76096-3853                     MANITOWOC WI 54221-2080                    Lancaster, PA 17601-4890



Arcadia Recovery Bureau LLC                  Asset Acceptance LLC                       Brandywine
PO Box 6768                                  P.O. Box 2036                              201 Reeceville Road
Philadelphia, PA 19132-0768                  Warren, MI 48090-2036                      Coatesville, PA 19320-1536



C-Tech Collections, Inc                      Cardiology Consultants of Philadelphia     Harris & Harris Ltd
PO Box 402                                   207 North Broad St 3rd FL                  111 West Jackson Blvd, Suite 400
Mt. Sinai, NY 11766-0402                     Philadelphia, PA 19107-1500                Chicago, IL 60604-4135



Internal Revenue Service                     Katherine E. LaDow, Esq.                   Keystone Collections Group
PO Box 7346                                  Lamb McErlane PC                           546 Wendel Road
Philadelphia, PA 19101-7346                  24 East Market Street                      Irwin, PA 15642-7539
                                             P.O. Box 565
                                             West Chester, PA 19381-0565

Main Line Emergency Med Assoc                Main Line Gastroenterology Assc.           Main Line Health
56 W Main St, Ste 305                        PO Box 782167                              130 South Bryn Mawr Avenue
Christiana, DE 19702-1503                    Philadelphia, PA 19178-2167                Bryn Mawr, PA 19010-3121



Main Line Health                             Minquas Fire Co Ambulance                  North American Partners in Anesthesia
P.O. Box 780163                              PO Box 726                                 PO Box 275
Philadelphia, PA 19178-0163                  New Cumberland, PA 17070-0726              Glen Head, NY 11545-0275



PMA Gastroenterology Center                  PMA Medical Specialists                    (p)PNC BANK RETAIL LENDING
PO Box 722                                   PO Box 791486                              P O BOX 94982
Phoenixville, PA 19460-0722                  Baltimore, MD 21279-1486                   CLEVELAND OH 44101-4982



PNC Bank, National Association               PNC Mortgage, a division of PNC Bank, NA   Paoli Hematology Oncology Assoc.
c/o Manley Deas Kochalski LLC                Attn: Bankruptcy Department                2 Industrial Blvd. Suite 110
P.O. Box 165028                              3232 Newmark Drive                         Paoli, PA 19301-1768
Columbus, OH 43216-5028                      Miamisburg, OH 45342-5421


Paoli Hospital                               Penn Medicine                              Premier Orthopaedics
255 W Lancaster Ave                          PO Box 824406                              PO Box 1870
Paoli, PA 19301-1793                         Philadelphia, PA 19182-4406                Cary, NC 27512-1870
                  Case 21-12240-amc   Doc 9-2 Filed 08/23/21 Entered 08/23/21 14:33:34            Desc
Premier Orthopaedics                    Regional Gast. Assoc.
                                            Service    List of Page
                                                               Lancaster
                                                                      3 of 3 Tek-collect Inc
PO Box 5257                             PO Box 782167                           PO Box 1269
New York, NY 10008-5257                 Philadelphia, PA 19178-2167             Columbus, OH 43216-1269



Timothy E. Wilfong, Esquire             Tower Health                            Tower Health
Law Office of Timothy E Wilfong LLC     PO Box 16051                            PO Box 825602
20 South Main Street                    Reading PA 19612-6051                   Philadelphia, PA 19182-5602
Phoenixville, PA 19460-3436


Tower Health System                     Transworld System Inc                   United Anes Serv PC
PO Box 70894                            500 Virginia Dr., Suite 514             PO Box 828962
Philadelphia, PA 19176-5894             Ft. Washington, PA 19034-2733           Philadelphia, PA 19182-8962



                                        Valley Forge Sewer Authority            Barbara Jean Sims
                                        333 Pawlings Road                       1173 S. Evergreen Dr.
                                        Phoenixville, PA 19460-2656             Phoenixville, PA 19460-2205
